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 8                             UNITED STATES DISTRICT COURT
 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
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11    Fred J. Haupt, et al.,            )       CASE NO. CV 16-6342-GHK (SSx)
                                        )
12                     Plaintiffs,      )
                                        )       JUDGMENT
13                v.                    )
                                        )
14    Nationstar Mortgage, LLC, et al., )
                                        )
15                     Defendants.      )
                                        )
16                                      )
      _______________________________ )
17
18          On October 19, 2016, we dismissed Plaintiffs’ Complaint with prejudice as to
19    Nationstar Mortgage, LLC. On November 9, 2016, we dismissed Plaintiffs’ Complaint
20    without prejudice as to Defendant NBS Services, LLC. Accordingly, IT IS HEREBY
21    ADJUDGED that Plaintiffs’ Complaint is DISMISSED as set forth above. Plaintiffs
22    shall take nothing by this Complaint.
23
24          IT IS SO ORDERED.
25          DATED: November 9, 2016
26
27                                             _______________________________
                                                       GEORGE H. KING
28                                                 United States District Judge
